         Case 1:15-cv-05671-NRB Document 137 Filed 02/11/19 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ELIZABETH MOELLER, individually and on behalf
of all others similarly situated,

                              Plaintiff,                  Civil Action No. 15-cv-05671-NRB

       v.

ADVANCE MAGAZINE PUBLISHERS, INC. d/b/a
CONDÈ NAST,

                              Defendant.


                   NOTICE OF MOTION FOR FINAL APPROVAL OF
                          CLASS ACTION SETTLEMENT

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that on February 28, 2019 at 11:00 a.m. before the Honorable

Naomi Reice Buchwald, United States District Judge for the Southern District of New York, 500

Pearl Street, New York, New York 10007, Plaintiff Elizabeth Moeller, by and through Class

Counsel will move and hereby does move for an order: (1) finally approving the Class Action

Settlement, and (2) certifying the Settlement Class.

       PLEASE TAKE FURTHER NOTICE that, in support of the motion, Plaintiff will rely

upon: (1) the accompanying Memorandum of Law, (2) the Declaration of Joseph I. Marchese,

and the exhibits attached thereto (including the Parties’ Class Action Settlement Agreement), and

(3) the Declaration of Jennifer M. Keough, and the exhibits attached thereto.

       PLEASE TAKE FURTHER NOTICE that the undersigned hereby requests oral

argument.

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       A Proposed Final Judgment and Order of Dismissal with Prejudice is submitted herewith.
        Case 1:15-cv-05671-NRB Document 137 Filed 02/11/19 Page 2 of 2



Dated: February 11, 2019
                                          Respectfully submitted,


                                          By:    /s/ Joseph I. Marchese
                                                  Joseph I. Marchese

                                          BURSOR & FISHER, P.A.
                                          Scott A. Bursor
                                          Joseph I. Marchese
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                                          Class Counsel




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